        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 1 of 31




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                )
In the Matter of the                            )
Federal Bureau of Prisons’ Execution            )
Protocol Cases,                                 )
                                                )
LEAD CASE: Roane, et al. v. Barr                )       Case No. 19-mc-145 (TSC)
                                                )
THIS DOCUMENT RELATES TO:                       )
                                                )
Roane v. Barr, 05-cv-2337                       )
                                                )

                                MEMORANDUM OPINION

       With over 376,000 Americans dead and more than twenty-one million infected, the

COVID-19 pandemic “need[s] no elaboration.” Merrill v. People First of Ala., 141 S. Ct. 25, 26

(2020) (Sotomayor, J., dissenting). And with each day bringing a new record number of

infections, “the COVID-19 pandemic remains extraordinarily serious and deadly.” Roman Cath.

Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 73 (2020) (Kavanaugh, J., concurring).

       Among the most susceptible to the spread of COVID-19 is the prison inmate population.

As several outbreaks have shown, “COVID-19 can overtake a prison in a matter of weeks.”

Valentine v. Collier, 141 S. Ct. 57, 62 (2020) (Sotomayor, J., dissenting) (discussing one facility

which recorded over 200 cases, 5 deaths, and 12 hospitalizations in less than three weeks). This

is unsurprising given that most inmates are unable to socially distance, have limited access to

adequate testing, and are often housed in buildings with poor circulation.

       Despite the pandemic, and the current record high rates of infections and fatalities,

Defendants intend to go forward with the scheduled executions of Plaintiffs Cory Johnson and

Dustin Higgs on January 14 and 15, 2021, although both men have been diagnosed with COVID-


                                                    1
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 2 of 31




19. Higgs and Johnson are housed at the Federal Correctional Institution in Terre Haute,

Indiana, a facility experiencing its own “massive COVID-19 outbreak.” Michael Balsamo &

Michael R. Sisak, Execution staff have COVID-19 after inmate put to death, AP News (Dec. 8,

2020), https://apnews.com/article/prisons-coronavirus-pandemic-executions-terre-haute-indiana-

e80af6a566bbff50ed5e9a097c305dbb.

       Defendants intend to carry out the executions according to the procedures set forth in the

Federal Bureau of Prisons 2019 Execution Protocol (the 2019 Protocol), which includes a lethal

injection of five grams of pentobarbital. Plaintiffs received notice of their diagnoses less than a

month before their executions—after Defendants assured the court that “allegations regarding the

prevalence of COVID-19 at [] Terre Haute . . . are dated” and that adequate procedures were in

place to protect the inmate population. (ECF No. 306-1 at 10 n.3.) Plaintiffs have asked the

court to enjoin their executions, arguing that injection of a lethal dose of pentobarbital given their

COVID-19 infections will cause them to suffer an excruciating death. Specifically, they argue

that damage to their lungs and other organs will cause them to experience the sensation of

drowning caused by flash pulmonary edema almost immediately after injection but before they

are rendered unconscious.

       Defendants argue that Plaintiffs’ claims here are the same as those previously rejected by

the Supreme Court. (See ECF No. 380, Defs. Opp’n at 17.) 1 The court disagrees. Plaintiffs have



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  Citing Sixth Circuit precedent, Defendants also argue that “even if any of the inmates did
briefly experience the effects of ‘flash’ pulmonary edema prior to becoming insensate, it would
not suffice to establish a violation of the Eighth Amendment.” (Def. Opp’n at 16 (citing In re
Ohio Execution Protocol Litig., 946 F.3d 287, 298 (6th Cir. 2019) (holding that pulmonary
edema does not “qualify as the type of serious pain prohibited by the Eighth Amendment.”)).)
This is at odds with D.C. Circuit precedent, which found that flash pulmonary edema could
indeed give rise to an Eighth Amendment violation. See Execution Protocol Cases, 980 F.3d at
132. Defendants similarly contend that in Bucklew, the Supreme Court “rejected an Eighth
Amendment challenge to a single-drug pentobarbital protocol “as applied to a prisoner with a
                                                  2
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 3 of 31




pleaded as-applied Eighth Amendment challenges based on their specific health conditions.

Moreover, they allege that their health has been worsened by their infection with COVID-19, an

illness which has resulted in a global pandemic for the better part of a year. Given these unique

circumstances, the court held an evidentiary hearing to assess the credibility of the parties’ expert

opinions.

       Having heard and reviewed the expert testimony, the court finds that Plaintiffs are likely

to succeed on the merits of their as-applied Eighth Amendment challenge. Specifically, they

have demonstrated that as a result of their COVID-19 infection, they have suffered significant

lung damage such that they will experience the effects of flash pulmonary edema one to two

seconds after injection and before the pentobarbital has the opportunity to reach the brain. This

will subject Plaintiffs to a sensation of drowning akin to waterboarding, a side effect that could

be avoided were Defendants to implement certain precautions, such as administering a pre-dose

analgesic or carrying out the execution by firing squad.

       For the reasons set forth below, and in light of these unprecedented circumstances, the

court will grant a limited injunction to allow Plaintiffs the opportunity to adequately recover

from COVID-19, at which point it will evaluate whether to extend the injunction in light of any

new medical evidence submitted by the parties.

                                     I.    BACKGROUND

       After a hiatus of more than fifteen years, on July 25, 2019, the Department of Justice

announced plans to resume federal executions. See Press Release, Dep’t of Justice, Federal



unique medical condition that could only have increased the baseline risk of pain associated with
pentobarbital.” (Defs. Opp’n at 17 (discussing Bucklew, 140 S. Ct. at 2159).) The D.C. Circuit
disagrees. “Allegations regarding flash pulmonary edema were not [] before the Supreme Court
in Bucklew.” Execution Protocol Cases, 980 F.3d at 131.

                                                 3
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 4 of 31




Government to Resume Capital Punishment After Nearly Two Decade Lapse (July 25, 2019),

https://www.justice.gov/opa/pr/federal-government-resume-capital-punishment-after-nearly-two-

decade-lapse. To implement these executions, the Federal Bureau of Prisons (BOP) adopted a

new execution protocol: the 2019 Protocol. (ECF No. 39-1, Admin. R. at 1021–75.)

       On September 1, 2020, the court granted Higgs’ unopposed motion to intervene in Roane

v. Gonzales, No. 05-2337, a case brought by several death row inmates (including Plaintiff Cory

Johnson) challenging the legality of the 2019 Protocol. (ECF Nos. 229, 229-1.) 2 Higgs’ claims

were largely the same as those asserted by the other Plaintiffs, with one exception: he brought an

as-applied challenge under the Eighth Amendment, alleging that because of his asthma and

because he believed that had contracted COVID-19 in February 2020, he faced a unique and

individualized risk of serious harm if executed using pentobarbital. (ECF No. 229-1 ¶¶ 166–72.)

       Defendants moved to dismiss Higgs’s as-applied claim, (see ECF No. 306), arguing that

the claim was speculative because Higgs did not allege that he had tested positive for COVID-

19, nor had he actually suffered lung damage from the disease. The court agreed and granted the

motion on December 9, 2020. (ECF Nos. 354–55.)

       During a status conference on December 17, 2020, Higgs’ counsel reported that Higgs

had tested positive for COVID-19. Higgs was granted leave to file a Second Amended and

Supplemental Complaint, (ECF No. 370), in which he alleges that his heart condition, combined

with his asthma, puts him at a greater risk of pulmonary edema, which is further aggravated by




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 The case originated as a challenge to the federal government’s death penalty procedures in
2005 but was subsequently amended to challenge the 2019 Protocol.

                                                4
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 5 of 31




his COVID-19 diagnosis. 3 Higgs also filed a second motion for a preliminary injunction. (ECF

No. 371, Higgs Mot.)

        On December 16, 2020, Johnson also tested positive for COVID-19 and was also

permitted to file a supplemental complaint and motion for a preliminary injunction. (See ECF

No. 372; ECF No. 373.) Johnson’s allegations are similar to Higgs’ except Johnson does not

allege any underlying medical conditions, and he has experienced slightly different symptoms.

(See generally ECF No. 375, Johnson Mot.)

        Defendants argue that Plaintiffs have shown only that there is competing testimony

between credible experts, which is insufficient to succeed on a method-of-execution Eighth

Amendment claim.

        On January 4 and 5, the court held an evidentiary hearing to assess the expert testimony

proffered on Plaintiffs’ COVID-19 related claims. Drs. Kendall von Crowns and Todd Locher

testified for Defendants and Drs. Gail Van Norman and Michael Stephen testified for Plaintiffs. 4

                                        II.    ANALYSIS

        A preliminary injunction is an “extraordinary remedy” requiring courts to assess four

factors: (1) the likelihood of the plaintiff’s success on the merits, (2) the threat of irreparable

harm to the plaintiff absent an injunction, (3) the balance of equities, and (4) the public interest.

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 24 (2008) (citations omitted); John Doe

Co. v. Consumer Fin. Prot. Bureau, 849 F.3d 1129, 1131 (D.C. Cir. 2017). The D.C. Circuit has

traditionally evaluated claims for injunctive relief on a sliding scale, such that “a strong showing


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  Higgs has another Amended and Supplemental Complaint and accompanying motion for a
preliminary injunction pending before the court. (See ECF Nos. 343–44.) The court will address
that motion for a preliminary injunction in a separate opinion.
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 The court also briefly heard from Dr. Mitchell Glass, who was slated to testify in favor of
Plaintiffs, but his testimony was stricken on Defendants’ unopposed motion.
                                                   5
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 6 of 31




on one factor could make up for a weaker showing on another.” Sherley v. Sebelius, 644 F.3d

388, 392 (D.C. Cir. 2011). It has been suggested, however, that a movant’s showing regarding

success on the merits “is an independent, free-standing requirement for a preliminary

injunction.” Id. at 393 (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1296

(D.C. Cir. 2009) (Kavanaugh, J., concurring)).

A. Likelihood of Success on the Merits

       Plaintiffs bringing an Eighth Amendment challenge to a method of execution face a high

bar. They must demonstrate that the 2019 Protocol presents a “substantial risk of serious harm,”

and they must identify an alternative method of execution that will significantly reduce the risk

of serious pain and that is feasible and readily implemented. Glossip v. Gross, 576 U.S. 863, 877

(2015) (quoting Baze v. Rees, 553 U.S. 35, 50 (2008)); see also Bucklew v. Precythe, 139 S. Ct.

1112, 1129 (2019) (confirming that “anyone bringing a method of execution claim alleging the

infliction of unconstitutionally cruel pain must meet the Baze-Glossip test.”). Indeed, the

Supreme Court “has yet to hold that a State’s method of execution qualifies as cruel and

unusual.” Bucklew, 139 S. Ct. at 1124.

       The court has been down this road before. In July, it enjoined four executions on the

basis that the use of pentobarbital would subject Plaintiffs to suffer a cruel and unusual death in

violation of the Eighth Amendment. In so ruling, the court found that Plaintiffs had provided

scientific evidence that “overwhelmingly” indicated they would suffer the effects of flash

pulmonary edema, including a sensation of drowning, while they were still conscious. (ECF

No. 135 at 9.) The court weighed the declarations of several experts, including Drs. Gail Van

Norman and Joseph Antognini.




                                                 6
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 7 of 31




       On appeal, the Supreme Court vacated this court’s injunction, concluding that Plaintiffs

were unlikely to succeed on the merits of their Eighth Amendment claim. See Barr v. Lee, 140

S. Ct. 2590, 2591 (2020). The Court noted that pentobarbital “has become a mainstay of state

executions . . . [h]as been used to carry out over 100 executions, without incident,” and was

upheld “as applied to a prisoner with a unique medical condition that could only have increased

any baseline risk of pain associated with pentobarbital as a general matter.” Id. The Court

acknowledged Plaintiffs’ expert declarations regarding flash pulmonary edema but noted that

“the government has produced competing evidence of its own, indicating that any pulmonary

edema occurs only after the prisoner had died or been rendered fully insensate.” Id. In light of

the competing evidence—and despite this court’s assessment that Plaintiffs’ evidence was more

credible—the Supreme Court found that Plaintiffs had “not made the showing required to justify

last-minute relief.” Id. It further emphasized that “[l]ast-minute stays” must be “the extreme

exception, not the norm.” Id. (quoting Bucklew, 139 S. Ct. at 1134).

       Given the Supreme Court’s decision in Lee, this court subsequently dismissed Plaintiffs’

general Eighth Amendment claim, finding that “no amount of new evidence will suffice to prove

that the pain pentobarbital causes reaches unconstitutional levels.” (ECF No. 193 at 4.) The

D.C. Circuit reversed. “By pleading that the federal government’s execution protocol involves a

‘virtual medical certainty’ of severe and torturous pain that is unnecessary to the death process

and could readily be avoided by administering a widely available analgesic first, the Plaintiffs’

complaint properly and plausibly states an Eighth Amendment claim.” In Re Fed. Bureau of

Prisons Execution Protocol Cases, 980 F.3d 123, 133 (D.C. Cir. 2020). However, the Court of

Appeals noted that Plaintiffs had a “difficult task ahead [] on the merits” and that if all they could

produce was a “‘scientific controvers[y]’ between credible experts battling between ‘marginally



                                                  7
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 8 of 31




safer alternative[s],’ their claim is likely to fail on the merits.” Id. at 135 (quoting Baze v. Rees,

553 U.S. 35, 51 (2008)).

           1. Substantial Risk of Serious Harm

       In order to succeed on their Eighth Amendment claim, Plaintiffs must show that

execution under the 2019 Protocol presents a risk of severe pain that is “sure or very likely to

cause serious illness and needless suffering” and gives rise to “sufficiently imminent dangers,”

such that prison officials cannot later plead “that they were subjectively blameless.” Baze, 553

U.S. at 49–50 (citations omitted). Although the Supreme Court has cautioned against federal

courts becoming “boards of inquiry charged with determining ‘best practices’ for executions,” id.

at 51, this question necessarily requires some weighing of scientific evidence. See, e.g., Glossip,

576 U.S. at 881 (affirming district court’s findings that midazolam was “highly likely” to render

inmates unable to feel pain during execution).

       It is undisputed that both Higgs and Johnson have been diagnosed with COVID-19 and

have been exhibiting symptoms consistent with that diagnosis, including shortness of breath, an

unproductive cough, headaches, chills, fatigue, etc. To date, neither has been hospitalized or

required treatment in an intensive care unit.

       It is further undisputed that Plaintiffs will suffer flash pulmonary edema as a result of the

2019 Protocol, “a medical condition in which fluid rapidly accumulates in the lungs causing

respiratory distress and sensation of drowning and asphyxiation.” See Execution Protocol Cases,

980 F.3d at 131. Thus, the question is whether these two Plaintiffs will experience the symptoms

of flash pulmonary edema while they are still conscious, an issue that has been the subject of

much debate amongst the experts in this case. After the Supreme Court’s decision in Lee, this

court has found that the question of whether an inmate, absent aggravating factors, will suffer



                                                   8
        Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 9 of 31




flash pulmonary edema while sensate is one on which reasonable minds can differ. (See ECF

No. 261 at 38.) 5

       But the issue presently before the court is whether Plaintiffs will suffer flash pulmonary

edema while sensate given the extensive lung damage they have suffered from COVID-19. The

court had not previously received expert testimony on this issue. And having no meaningful way

to resolve the dispute on the expert declarations alone, it exercised its discretion and held an

evidentiary hearing.

       “A preliminary injunction may be granted on less formal procedures and on less

extensive evidence than a trial on the merits, but if there are genuine issues of material fact

raised . . . an evidentiary hearing is required.” Cobell v. Norton, 391 F.3d 251, 261 (D.C. Cir.

2004) (internal citations omitted); but see LCvR 65.1(d) (“The practice in this jurisdiction is to

decide preliminary injunction motions without live testimony where possible.” (emphasis

supplied)). And where “a court must make credibility determinations to resolve key factual

disputes in favor of the moving party, it is an abuse of discretion for the court to settle the

question on the basis of documents alone, without an evidentiary hearing.” Cobell, 391 F.3d at

262 (citing Prakash v. Am. Univ., 727 F.2d 1174, 1181 (D.C. Cir. 1984)); see also Alan Wright

& Arthur R. Miller, 11A Fed. Prac. & Proc. Civ. § 2949 (3d ed. 1998) (explaining that when a

motion for a preliminary injunction “depends on resolving a factual conflict by assessing the


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  In denying injunctive relief for Plaintiffs’ Food, Drug, and Cosmetic Act claim, the court
previously found that they had failed to demonstrate that they were sure to suffer flash
pulmonary edema while they were sensate. (See ECF No. 261 at 40.) But in doing so, the court
did not find that Defendants’ experts had definitively answered the question. Rather, the court
found that given the expert testimony—which did not involve individual medical records—
Plaintiffs had failed to meet their burden. Furthermore, that dispute centered on the question of
whether every plaintiff executed with pentobarbital would suffer flash pulmonary edema before
being rendered insensate. The dispute here involves aggravating factors not previously before
the court.

                                                   9
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 10 of 31




credibility of opposing witnesses, it seems desirable to require that the determination be made on

the basis of their demeanor during direct and cross-examination, rather than on the respective

plausibility of their affidavits.”).

                i. COVID-19 Lung Damage – Higgs

        Dr. Gail Van Norman, an anesthesiologist and professor in the Department of

Anesthesiology and Pain Medicine at the University of Washington in Seattle, opined that “the

COVID-19 virus leads to significant lung damage” and that “[f]or prisoners experiencing

COVID-related lung damage at the time of their execution, flash pulmonary edema will occur

even earlier in the execution process, and before brain levels of pentobarbital have peaked.”

(ECF No. 374-1, Van Norman Supp. Decl. at 1.) “To a reasonable degree of medical certainty,

these prisoners will experience sensations of drowning and suffocation sooner than a person

without COVID-related lung damage and, therefore, their conscious experience of the symptoms

of pulmonary edema will be prolonged.” (Id.) She explained that COVID-19 causes “severe

damage to many areas in the airways and lungs, but most specifically to the alveolar-capillary

membrane, which is also the site of damage of massive barbiturate overdose.” (Id. at 2.) These

effects “can be seen by radiography in . . . at least 79% of patients who have symptomatic

COVID-19 infection, even when such infections are mild.” (Id.) Damage to the lungs may

eventually resolve, though studies indicate that “severe pulmonary functional changes have been

demonstrated for more than 90 days after infection.” (Id.; see also id. at 5 (listing studies).) She

reiterated these points during her direct examination.

        The court found Dr. Van Norman highly credible. She testified that she has personally

tended to patients hospitalized with COVID-19 who needed airway management, which included

administering anesthesia. (See ECF No. 389, H’rg Tr. at 145.) She also testified that when



                                                 10
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 11 of 31




pentobarbital is injected, it flows first to the heart and is then pumped to the lungs before going

to the rest of the body. (Id. at 147.) Because pentobarbital is caustic, a high concentration dose

will burn the alveoli-capillary membrane in the lungs within a second or two of injection. (Id. at

192.) A person with COVID-19 related lung damage will experience flash pulmonary edema

before the pentobarbital reaches the brain. (Id. at 147–48.) Dr. Van Norman also explained that

while pentobarbital’s anesthetic effect can take anywhere from thirty seconds to two-and-a-half

minutes, it takes longer to reach peak effectiveness. (Id. at 150.) Thus, Plaintiffs will suffer the

effects of flash pulmonary edema anywhere from thirty seconds to two-and-a-half minutes after

injection.

       Dr. Van Norman provided credible and persuasive responses to criticism of her opinions.

In his fifth amended declaration, Defendants’ expert, Dr. Joseph Antognini criticized Dr. Van

Norman for not: 1) providing published evidence that asymptomatic or mildly symptomatic

patients have increased propensity for pulmonary edema when administered lethal doses of

pentobarbital; 2) providing published evidence that pulmonary damage increases the risk of

pulmonary edema from pentobarbital; and 3) specifying when the onset of the pulmonary edema

might occur in someone who has suffered COVID-19 lung damage. (ECF No. 380-2, Antognini

5th Supp. Decl. ¶¶ 3–5.) As to the first two criticisms, Dr. Van Norman explained that there are

no such studies because no physician or scientist has administered massive overdoes of

intravenous pentobarbital to COVID-19 patients. (Id. at 153.) Dr. Van Norman also stated that,

in her opinion, inmates with lung damage from COVID-19 will experience flash pulmonary

edema within a second or two after injection, before pentobarbital has reached the brain. (Id. at




                                                 11
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 12 of 31




192 (explaining that pentobarbital is “a caustic chemical” which is “going to attack an already

leaky membrane”).) 6

       The court found Dr. Antognini’s opinions less helpful. 7 Although he faulted Dr. Van

Norman for not providing support for her conclusions, Dr. Antognini’s opinions regarding the

effect of a pentobarbital injection on a person with COVID-19 symptoms were themselves

conclusory. In fact, Dr. Antognini cited two studies in his entire declaration, neither of which

involved COVID-19. His declaration did not indicate whether he even treats COVID-19

patients. (Antognini Fifth Supp. Decl. ¶ 5.) Relying in large part on his prior testimony, he

stated that “unconsciousness occurs when a clinical dose of pentobarbital is administered (around

500 mg—a tenth of the execution dose).” (Id.) This statement does not address Dr. Van

Norman’s explanation that injected pentobarbital will begin to attack damaged lungs before it

reaches the brain, and Dr. Antognini did not proffer how long it would take for an inmate to be

rendered unconscious. Thus, his declaration did not adequately refute Dr. Van Norman’s

opinions.

       Dr. Michael Stephen corroborated Dr. Van Norman’s theory regarding lung damage.

During his testimony, Dr. Stephen, an associate professor in the Department of Medicine and

Division of Pulmonary and Critical Care at Thomas Jefferson University, who actively treats and

reviews x-rays of COVID-19 patients, interpreted x-rays of Higgs’ lungs taken in October 2018

and December 2020. Dr. Stephen testified that Higgs’ lungs were severely hyperinflated, as



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  On cross examination, Dr. Van Norman admitted that she was opposed to the death penalty, but
the court has no reason to believe her opposition has biased her scientific assessments,
particularly in light of other evidence in the record.
7
 Defendants did not call Dr. Antognini as a witness and Plaintiffs declined to call him for cross-
examination.

                                                12
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 13 of 31




shown by the fact that on the x-ray, his lungs could not fit on one lung plate. (H’rg Tr. at 99.)

Consequently, he explained, the radiologist had to take three views, which in Dr. Stephen’s

experience was very rare absent a very serious obstructive lung disease such as asthma. (Id.) Dr.

Stephen also explained that chest x-rays typically only show seven to nine ribs, but Higgs’ x-ray

films showed eleven ribs, which indicated that Higgs has so much air in his lungs from poorly

controlled asthma that his diaphragm is being pushed down, causing the x-ray to capture more

ribs than it normally would. (Id.) Dr. Stephen also noted evidence of a tabletop (or flat)

diaphragm that has become exaggerated between 2018 and 2020, suggesting severely poorly

controlled asthma. (Id. at 99–100.)

       Dr. Stephen’s testimony was particularly persuasive and helpful, as he walked the court

through a comparison of Higgs’ lung images to show the extensive damage caused by COVID-

19. As was readily apparent, the right lung exhibited more opacity in certain areas in 2020 than

in 2018. (Id. at 95.) Dr. Stephen described these opacities as interstitial markings, which are

more visible as a result of inflammation caused by “viral pneumonia from COVID-19.” (Id. at

97.) Because of this inflammation, he concluded that Higgs’ alveoli-capillary membrane has

already been breached by COVID-19 particles, and white blood cells are flooding into his lungs

to combat them. (Id. at 97.) Thus, he concluded, Higgs’ heart will be pumping very hard to

supply blood to the inflamed parts of the lung, a condition that places Higgs at high risk for

pulmonary edema. (Id. at 98.)

       To rebut Drs. Van Norman and Stephen’s testimony, Defendants submitted a declaration

from Dr. Todd Locher. Interpreting studies relied upon by Drs. Van Norman and Stephen, Dr.

Locher opined that “asymptomatic and mildly symptomatic cases [of COVID-19] have a lower

percentage of lung involvement.” (ECF No. 381-1, Locher Decl. ¶ 11.) After reviewing both



                                                 13
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 14 of 31




Higgs’ and Johnson’s medical records, Dr. Locher concluded that both men were experiencing

“minimal symptoms.” (Id. ¶ 12.) With regard to Higgs’ x-rays, Dr. Locher agreed with Dr.

Justin Yoon, the interpreting radiologist proffered by the government, that there was no “acute

cardiopulmonary process” and that Higgs had clear lungs “except for an unchanged right apical

reticular nodular density.” (Id.) He concluded that there was “no evidence [] of lung

involvement due to COVID-19.” (Id.)

       Dr. Locher further noted that “there is no evidence in the medical literature suggesting an

injection with pentobarbital would somehow exacerbate symptoms or physiologic abnormalities

in patients with COVID-19.” (Id. ¶ 14.) Thus, he concluded, “if pulmonary edema were to

occur upon the injection of 5 g of pentobarbital, it is not likely that these inmates would

experience pulmonary edema more quickly or severely than inmates who have been diagnosed

with COVID-19.” (Id.)

       The court is unpersuaded by this testimony. For one, as Dr. Van Norman explained,

there have been no studies involving the injection of large doses of pentobarbital in COVID-19

patients, nor would one expect any. Dr. Locher also stated that a chest x-ray is not as sensitive as

a CT scan in detecting lung involvement for COVID-19, but nevertheless concluded that “any

findings on a CT scan would likely be minor in view of a normal chest x-ray.” (Id. ¶ 13.) He

appeared to be relying on a less accurate measurement to postulate that a more accurate one

would be less useful.

       Dr. Locher’s live testimony cast further doubt on his credibility. On cross-examination, it

was unclear how closely he had reviewed the relevant medical records. For instance, his

declaration stated that Higgs was not experiencing any symptoms on December 29, 2020, despite

the fact that Higgs’ medical records indicates he had a persistent cough. (Compare Locher Decl.



                                                 14
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 15 of 31




¶ 12 (“On 12/29/2020, the medical record reports no shortness of breath, sore throat or other

symptoms”), with ECF No. 380-4, Smilege Decl. at 58 (“Cough (Duration/Describe:

persistent”).) Similarly, Dr. Locher’s declaration states that Johnson exhibited no symptoms of

COVID-19 on December 22 and 23, whereas the records clearly indicate Johnson reported a

headache on December 22. (Compare Locher Decl. ¶ 12, with Smiledge Decl. at 138.) Dr.

Locher confirmed during cross-examination that a headache is indeed a common symptom of

COVID-19. (H’rg Tr. at 65.) These inaccuracies alone do not cast Dr. Locher’s entire testimony

in doubt, but they do call into question the amount of time he spent reviewing the evidence,

particularly in light of his conclusion that Higgs and Johnson have had mild cases of COVID-19,

and the implication that their cases have mostly resolved. (See Locher Decl. ¶ 12.) Indeed, Dr.

Locher stated that it would not surprise him if either Higgs or Johnson reported persistent

shortness of breath into January. (Hr’g Tr. at 72.)

       More concerning was Dr. Locher’s interpretation of Higgs’ x-rays. In his declaration, Dr.

Locher agreed with Dr. Yoon, the reviewing radiologist that Higgs’ 2020 x-ray indicated a

“stable chest examination without acute cardiopulmonary process” and that Higgs has “[c]lear

lungs except for unchanged right apical reticular density” when compared to the 2018 x-rays.

(Locher Decl. ¶ 12.) He reiterated his opinion that Higgs’ 2020 x-ray was “unchanged compared

to the previous file dated in October 2018” aside from a small upper right lobe shadow. (H’rg

Tr. at 60.) Comparing the two images, one does not have to be an expert to see that this

statement is inaccurate. As Dr. Stephen pointed out, the right lung in the 2020 image has more

prevalent cloudier streaks when compared to the same lung in 2018. The opacity is present in

the left lung, but not to the same extent, which suggests that this is not merely an imaging error.

It is troubling that Dr. Locher did not account for these obvious differences between the two



                                                 15
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 16 of 31




scans, even when asked about Dr. Stephen’s assessment by Defendants’ counsel during direct

examination. Instead, he merely stated his disagreement with Dr. Stephen. (See id.)

       And while Dr. Locher reached the same conclusion as Dr. Yoon, the court has little

information on Yoon, who was not called to testify and who did not submit a declaration in

support of his conclusions. 8 The court does not know if Dr. Yoon routinely reviews x-rays of

COVID-19 patients.

       Based on the declarations and live testimony, the court finds that Higgs has shown that if

his execution proceeds as scheduled—less than a month after his COVID-19 diagnosis—he will

suffer flash pulmonary edema within one or two seconds of injection but before the pentobarbital

reaches the brain and renders him unconscious. Though the Eighth Amendment does not

guarantee a painless death, it does prohibit needless suffering. See Baze, 553 U.S. at 49–50. The

pulmonary edema that Higgs will endure while he is still conscious would not occur were his

execution to be delayed. A brief injunction will allow Higgs’ lungs to sufficiently recover so

that he may be executed in a humane manner. Thus, Higgs has successfully demonstrated a

substantial risk of serious harm. 9

               ii. COVID-19 Lung Damage – Johnson

       Despite the lack of x-ray evidence in Johnson’s case, the court reaches the same

conclusion for Johnson for several reasons. The assessment of the live testimony above applies



8
 Dr. Yoon’s interpretation of Higgs’ 2020 x-ray is included in Higgs’ BOP medical record. (See
Smiledge Decl. at 107.)
9
  Higgs also alleges that his COVID-19 diagnosis, given his severe asthma, makes it more likely
that he will experience flash pulmonary edema while still conscious. Higgs does not allege that
his asthma alone will cause him to suffer these effects. Having already found that Higgs’
COVID-19 symptoms will cause him to suffer from flash pulmonary edema while sensate, the
court need not determine whether and to what effect asthma has damaged his lungs.

                                               16
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 17 of 31




with equal force to Johnson’s COVID-19 as-applied claim. It is undisputed that Johnson is

suffering from symptoms of COVID-19, which, as Drs. Van Norman and Stephen have shown,

means he has suffered damage to his alveoli-capillary membrane. Were he to be injected with

pentobarbital in his current state, the drug would travel first to his heart and then to his lungs. As

the drug courses through his lungs, it will burn the alveoli-capillary membrane which has already

been damaged from COVID-19, triggering flash pulmonary edema, all before the pentobarbital

even reaches his brain and begins to have an anesthetizing effect.

       And though Johnson’s lungs have not been x-rayed (despite a request by Plaintiffs, see

ECF No. 386), the court can infer from the expert testimony that Johnson has suffered COVID-

19 related lung damage. Here again, Dr. Antognini’s declaration failed to adequately account for

the biological sequence of events that occurs after injection, particularly given COVID-19

symptoms. And Dr. Locher’s failure to account for obvious changes in Higgs’ x-ray undermines

his opinion that patients with mild COVID-19 symptoms are unlikely to suffer extensive lung

damage.

       The record contains several pulse oximetry readings taken from Johnson over the course

of his illness, the interpretation of which was also debated amongst the experts. But the court

found this evidence less helpful. As Dr. Van Norman explained in a supplemental declaration

she prepared for Johnson, “[a] clear change from 99% to 97%, as Mr. Johnson’s pulse oximetry

results show, is clinically significant and indicates significant changes have occurred in gas

exchange in the lungs, particularly in the setting of early COVID-19 infection.” (ECF No. 374-

3, Van Norman Decl. Re Johnson ¶ 11.) She explained that “pulse oximetry is both a late and

relatively crude method of examining impairments in oxygen exchange in the lungs.” (Id. ¶ 9.)




                                                 17
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 18 of 31




Thus, “a person’s oxygen level can fall by 80% and still show 100% SaO2 [(the reading captured

by a pulse oximetry test)].” (Id. ¶ 10.)

       Dr. Antognini disputed this characterization. In his view, “[i]t is misleading to state that

going from 99% to 97% is a trend,” a change which is “clinically insignificant” because

Johnson’s pulse oximetry readings have been in the normal range. (Antognini 5th Supp. Decl.

¶ 7.) Dr. Antognini also explained that “[p]ulse oximetry readings are subject to variation and

depend considerably on the placement of the probe, the amount of circulation to the finger,

motion artifact, etc.” (Id.)

       Dr. Van Norman did not address this critique and did not appear to account for the fact

that pulse oximetry readings are subject to variation or that, despite a drop in his pulse oximetry

readings, Johnson’s oxygen saturation level have remained in the normal range. In fact, even if

the court accepts Dr. Van Norman’s assertion that a decrease in pulse oximetry could signal a

steep deprivation of oxygen, it is unclear whether that has occurred in Johnson’s case and to

what extent. (See Van Norman Decl. Re Johnson ¶ 9.) In any event, Dr. Van Norman confirmed

that “[e]ven if [Johnson’s] pulse oximetry readings had not decreased at this point in his

infection, the studies I previously cited indicate that he is experiencing ongoing damage to the

alveolar capillary membrane that will persist for a prolonged period of time after symptoms

resolve.” (Id. ¶ 12.) The court further notes that Johnson received a 98% reading in a pulse

oximetry test performed on January 2, 2021. (See ECF No. 387-1 at 3.) Because the

interpretation of these results is unclear, the court will accord them minimal weight.

       Nevertheless, given the testimony proffered for Higgs and the relative weight the court

has afforded the experts, Johnson has demonstrated a substantial risk of serious harm.




                                                18
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 19 of 31




               iii. Heart Issues – Higgs

       Higgs’ claim based on his heart conditions was less compelling and, standing alone,

would not be enough to show a likelihood of success on an as-applied challenge. Ultimately,

Higgs has not convincingly shown that his heart conditions make him more likely to suffer the

effects of flash pulmonary edema before he is rendered insensate.

       Higgs suffers from various heart conditions, including structural heart disease (by virtue

of left atrial enlargement) and mitral valve disease (with moderate mitral valve regurgitation and

anterior leaflet dysfunction). (Stephen Decl. ¶ 12.) Dr. Stephen explained that Higgs’ enlarged

left atrium ineffectively pumps blood to the left ventricle, putting Higgs at risk for fluid backup

in his lungs (pulmonary edema). (Id. ¶ 13.) An injection of pentobarbital, a cardiac depressant,

will induce a sudden onset of congestive heart failure and flash pulmonary edema. (Id. ¶ 14.)

Dr. Joel Zivot offered similar opinions in his declaration. (See generally ECF No. 374-6 ¶¶ 7–9,

19.)

       Again, Dr. Locher’s declaration was of little value to the court. Dr. Locher confirmed

that studies show that “COVID-19 can affect cardiac structure and function which may lead to

pulmonary edema.” (Locher Decl. ¶ 8.) He qualified his statement by noting that such studies

were only performed on symptomatic and hospitalized patients, although he also acknowledges

that Higgs is symptomatic. Dr. Locher’s other opinions on the issue exhibited the same

inconsistencies as his assessment of COVID-19 related lung damage. For instance, Dr. Locher

stated that “there is no way for anyone to know if Mr. Higgs has any cardiac decompensation

without performing a physical exam, laboratory studies such as serum troponin level . . .[or] a

current EKG and echocardiogram.” (Id. ¶ 8). He then went on to say that such an evaluation

would not be helpful for a patient with minimal or no symptoms. (Id.) Dr. Locher also



                                                 19
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 20 of 31




contended that there is no evidence in the medical literature to suggest mitral regurgitation would

lead to earlier or more severe pulmonary edema after an injection of five grams of pentobarbital.

(Id. ¶ 8). The court does not find this argument persuasive—it is not surprising that there is a

lack of evidence in the medical literature, given that individuals with mitral regurgitation (or any

individuals) are not routinely injected with a lethal dose of pentobarbital.

       Dr. Crowns’ declaration was more persuasive. 10 He opined that Higgs’ mitral valve

prolapse/regurgitation is a common condition that presents no symptoms in most people. (ECF

No. 380-5, Crowns Decl. ¶ 4.) He further stated that Higgs has not shown signs that he is

progressing to heart failure. (Id. ¶ 5.) A May 2019 echocardiogram revealed a preserved left

ventricular ejection fraction well within a “normal” range. (Id.) And during a cardiac

consultation in November 2020, Higgs denied any chest pain, palpitations or shortness of breath,

and confirmed that he can participate in vigorous exercise. (Id.) Thus, Crowns opined that

Higgs is not suffering from heart failure and his heart condition would not cause him to

experience flash pulmonary edema while sensate. (Id. ¶ 6.) 11

       The court has no meaningful way of resolving this dispute. Unlike the expert testimony

regarding his lung damage, Higgs’ cardiac history indicates that he has a heart abnormality that

has not materially impacted his overall health. And despite the abnormality, Higgs’ cardiac



10
   Plaintiffs point out that in an earlier evidentiary hearing, Dr. Crowns described “a case report
of an individual who developed flash pulmonary edema [upon administration of pentobarbital],
but he had underlying heart issues, specifically mitral valve issues . . . So, in his situation, his
flash pulmonary edema was the result of a compromised heart.” (Higgs Mot. at 9 (quoting ECF
No. 271 at 18).) Dr. Crowns asserted that this statement was taken out of context, noting that the
study to which he was referring included one patient who had clear symptoms of heart failure.
(Crowns Decl. ¶¶ 3–4.)
11
  Though Plaintiffs established that Crowns is not an expert in anesthesiology, the court finds
his assessment of Higgs’ cardiac health credible.

                                                 20
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 21 of 31




measurements fall within a normal range. Higgs’ experts opine that his heart conditions weaken

his heart and are therefore highly likely to cause him to suffer flash pulmonary edema while

sensate. But given credible expert testimony on both sides, and absent abnormal measurements

showing deteriorating cardiac health, the court cannot find that Higgs has a substantial risk of

suffering flash pulmonary edema during his execution because of his heart condition.

       Higgs also theorizes that his COVID-19 diagnosis will further aggravate his heart

condition. However, there is no evidence showing that Higgs has suffered cardiac damage as a

result of his COVID-19 diagnosis. Indeed, none of the experts raised any flags about Higgs’

cardiac measurements. And while the court accepts the scientific conclusion—proffered by both

sides—“that COVID-19 can affect cardiac structure and function which may lead to pulmonary

edema” (Locher Decl. ¶ 8), Higgs’ own expert testified that COVID-19 impacts patients in

different ways, (see Stephen Decl. ¶ 11). Based on the evidence before it, the court cannot

conclude that Higgs will succeed on this as-applied challenge.

           2. Known and Available Alternatives

               i. Pre-dose of opioid pain or anti-anxiety medication

       Plaintiffs proffer evidence that a pre-dose of certain opioid pain medications, such as

morphine or fentanyl, will significantly reduce the risk of severe pain during the execution.

(Higgs Mot. at 11–12 (quoting ECF No. 25, Decl. of Craig Stevens, ¶¶ 15–16).) Defendants

argue that no state currently uses analgesics in its execution procedures, that pentobarbital alone

is sufficiently painless, and that BOP has concluded that a one-drug protocol is preferable,

because it will reduce “the risk of errors during administration” and “avoid the complications

inherent in obtaining multiple lethal injection drugs and in navigating the expiration dates of

multiple drugs.” (Defs. Opp’n at 29–30 (citation omitted).)



                                                21
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 22 of 31




       The court finds Defendants’ positions unavailing. While they contend that “no State adds

an opioid to an execution protocol using pentobarbital,” and the government is therefore not

required to do so, (Id. at 30 (citing Bucklew, 139 S. Ct. at 1130)), this argument misses the mark.

As this court has previously noted, Nebraska recently used a pre-dose of fentanyl to reduce the

risk of serious pain during an execution (ECF No. 135 at 15), whereas in Bucklew, the plaintiff

presented only “reports from correctional authorities in other States indicating that additional

study [was] needed to develop a protocol” for the proposed execution mechanism. Bucklew, 139

S. Ct. at 1129. Even if Defendants were correct, however, the fact that other states do not use

pain medication would not be dispositive. See Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J.,

concurring) (“I write to underscore the Court’s additional holding that the alternative method of

execution need not be authorized under current state law. . . . Importantly, all nine Justices today

agree on that point.”).

       Finally, Defendants contend that BOP has “legitimate reasons” for choosing not to use a

pre-dose of an opioid because it has concluded that a one-drug protocol will reduce “the risk of

errors during administration” and “avoid the complications inherent in obtaining multiple lethal

injection drugs and in navigating the expiration dates of multiple drugs.” (Defs. Opp’n at 30

(citations to Admin. R. omitted).) The court does not question BOP’s conclusions regarding the

administrative efficiency of a one-drug protocol. It does, however, question Defendants’

conclusion that the administrative ease of administering and procuring a single drug over two

drugs—apparently without having made a good faith attempt at the latter, cf. Glossip, 576 U.S. at

878–79—is a “legitimate penological reason” to select a particular method of execution despite

evidence that the risk of pain associated with that method is “substantial when compared to a

known and available alternative.” Bucklew, 139 S. Ct. at 1125 (quoting Glossip, 576 U.S. at



                                                 22
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 23 of 31




878); see also Henness v. DeWine, 141 S. Ct. 7, 9 (2020) (Sotomayor, J., statement on denial of

certiorari).

        The Supreme Court has previously found a “legitimate penological reason” where a

particular drug “hasten[ed] death,” Baze, 553 U.S. at 57–58 (plurality op.); where a state chose

“not to be the first to experiment with a new method of execution” that had “no track record of

successful use,” Bucklew, 139 S. Ct. at 1130 (citation omitted); and where a state was unable to

procure particular drugs “despite a good-faith effort to do so,” Glossip, 576 U.S. at 868–79

(detailing state’s efforts and implying without stating that this reason was “legitimate”).

Defendants have presented no evidence that they have tried to either procure or administer the

two-drug protocol proffered by Plaintiffs, or that any such efforts were unsuccessful. Cf. Admin.

R. at 869 (asserting that manufacturers would “most likely” resist efforts to use fentanyl in

executions); Execution Protocol Cases, 980 F.3d at 133 (“The combination of drugs as part of

lethal injection protocols has been used by both states and the federal government, and is still

used in a number of jurisdictions. The two-drug protocol also fits squarely within the plain text

of the federal execution protocol.” (citations omitted)). Nor have Defendants provided this court

with any authority to support their contention that administrative concerns are a sufficient

“legitimate penological reason” under the Supreme Court’s Eighth Amendment jurisprudence.

        In sum, Plaintiffs have proposed a simple addition to the execution procedure that is

likely to be as effective as it is easily and quickly administered. See Bucklew, 139 S. Ct. at 1129.

               ii. Firing squad.

        Alternatively, Plaintiffs proffer execution by firing squad. (Higgs Mot. at 12–13; ECF

No. 92 ¶ 114(c).) Because that method of execution is feasible, readily implemented, and would

significantly reduce the risk of severe pain, it satisfies the Blaze-Glossip requirements for



                                                 23
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 24 of 31




proposed alternatives. Execution by firing squad is currently legal in three states, Utah,

Oklahoma, and Mississippi, and can hardly be described as “untried” or “untested” given its

historical use as a “traditionally accepted method of execution.” Bucklew, 139 S. Ct. at 1125,

1130. Moreover, the last execution by firing squad in the United States occurred just over a

decade ago, on June 18, 2010, in Utah.

       Both the historical use of firing squads in executions and more recent evidence suggest

that, in comparison to the 2019 Protocol, execution by firing squad would significantly reduce

the risk of severe pain. See, e.g., Deborah Denno, Is Electrocution an Unconstitutional Method

of Execution? The Engineering of Death Over the Century, 35 Wm. & Mary L. Rev. 551, 688

(1994) (“A competently performed shooting may cause nearly instant death”); Austin Sarat,

Gruesome Spectacles: Botched Executions and America’s Death Penalty app. A at 177 (2014)

(calculating that while 7.12% of the 1,054 executions by lethal injection between 1900 and 2010

were “botched,” none of the 34 executions by firing squad had been, the lowest rate of any

method). 12

       Defendants point to two cases from other Circuits in which courts appeared skeptical of

these conclusions. (Defs. Opp’n at 30–31.) But again, they overlook the Supreme Court’s


12
  Defendants contend that Sarat “does not discuss execution by firing squad” and that “there is
insufficient data in the cited appendix to draw any statistically significant conclusions,” given
that there “were only two executions by firing squad” since 1980. Setting aside the
inconsistency of Defendants’ arguments—first claiming that Sarat does not discuss firing squads,
and then critiquing the data Sarat provides on that precise subject—Defendants simply
misrepresent the facts. Although Sarat’s work does not contain a specific chapter devoted to
execution by firing squad, it does contain specific mentions of firing squads throughout the main
text and associated footnotes, see Sarat, supra at 4, 10–11, 167, 219 n.131, and the referenced
appendix provides data on all executions performed in the United States from 1900 through
2010, including the rate of botched executions separated by execution method. Id. app. A at 177.
While only two executions by firing squad have been performed since 1980, Defendants
inexplicably choose to ignore the first statistics provided in the Appendix, which note that there
were 34 executions by firing squad between 1900 and 2010, none of which were botched. Id.

                                                24
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 25 of 31




guidance in Bucklew that a plaintiff’s burden in identifying an alternative method of execution

“can be overstated” and that there is “little likelihood that an inmate facing a serious risk of pain

will be unable to identify an available alternative.” 139 S. Ct. at 1128–29. Indeed, members of

the Court, including at least one Justice in the Bucklew majority, have opined that the firing

squad may be an immediate and sufficiently painless method of execution. See, e.g., id. at 1136

(Kavanaugh, J., concurring); Arthur v. Dunn, 137 S. Ct. 725, 733–34 (2017) (Sotomayor, J.,

dissenting from denial of cert.) (“In addition to being near instant, death by shooting may also be

comparatively painless.”). Moreover, given that use of the firing squad is “well established in

military practice,” Baze, 553 U.S. at 102 (Thomas, J., concurring in the judgment), Defendants

are, if anything, more capable than state governments of finding “trained marksmen who are

willing to participate,” and who possess the skill necessary to ensure death is near-instant and

comparatively painless. Cf. McGehee v. Hutchinson, 854 F.3d 488, 494 (8th Cir. 2017).

       Defendants also argue that the court should defer to the government’s “legitimate

reason[]” for choosing not to adopt the firing squad as a method of execution—that legitimate

reason being the government’s interest in “preserving the dignity of the procedure” in light of

what they deem the “‘consensus’ among the States that lethal injection is more dignified and

humane.” (Defs. Opp’n at 32–33 (quoting Baze, 553 U.S. at 57, 62 (plurality op.).) Yet in Baze,

the plurality opinion, joined by three Justices, found that the “consensus” to which Defendants

refer went “not just to the method of execution, but also to the specific three-drug combination”

at issue in that case. Baze, 553 U.S. at 53. The same plurality also found that the state’s decision

to administer a paralytic agent as part of its execution protocol did not offend the Eighth

Amendment where the state’s interest in “preserving the dignity of the procedure” by preventing

convulsions that “could be misperceived as signs of consciousness or distress” was coupled with



                                                 25
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 26 of 31




the “the States' legitimate interest in providing for a quick, certain death,” and the paralytic had

the effect of “hastening death.” Id. at 57–58.

       In his opinion concurring in the judgment in Baze, Justice Stevens noted that concern

with the “dignity of the procedure” alone constituted a “woefully inadequate justification.”

“Whatever minimal interest there may be in ensuring that a condemned inmate dies a dignified

death, and that witnesses to the execution are not made uncomfortable . . . is vastly outweighed

by the risk that the inmate is actually experiencing excruciating pain.” Id. at 73 (Stevens, J.,

concurring in the judgment); cf. Bucklew, 139 S. Ct. at 1130 (finding that “choosing not to be the

first to experiment with a new method of execution” that had “no track record of successful use”

constituted a “legitimate reason.” (citation omitted)). Defendants’ argument that the perception

of a method of execution as less dignified or “more primitive” is a “legitimate penological

reason” for declining to adopt a different protocol thus misconstrues the standard set by the

Supreme Court’s precedent on this issue.

       The court does not find that execution by firing squad would be an acceptable alternative

in every case. In this case, however, Defendants could readily adopt Plaintiffs’ proposal.

       Finally, Defendants argue that Plaintiffs’ stated preference for execution by firing squad

is disingenuous. But Plaintiffs have argued for it at length throughout this litigation, (see, e.g.,

ECF No. 92), and have shown that it is readily implemented, available, and would significantly

reduce the risk of severe pain. Cf. Bucklew, 139 S. Ct. at 1136 (Kavanaugh, J., concurring)

(rejecting possibility of execution by firing squad where the plaintiff had chosen not to plead it as

an alternative).




                                                  26
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 27 of 31




               iii. Postponement

       Plaintiffs have alternatively proffered the option of delaying their execution until they

have recovered from COVID-19. (Higgs Mot. at 13–14.) This is not, as precedent requires, “a

known and available alternative method of execution,” see Glossip, 576 U.S. at 864, but rather

an alternative date of execution. Even so, the court is likewise unpersuaded by Defendants’

contention that postponing the executions “directly contradicts [Plaintiffs’] general Eighth

Amendment claim and belies every argument they have made in support of that claim over the

last 15 months.” (Defs. Opp’n at 34.) If lethal injection of pentobarbital will create a significant

risk of suffering even in otherwise healthy persons, as Plaintiffs have long attested, then the risk

to an individual with severe respiratory illness, such COVID-19, would only be heightened. This

proposal therefore does not contradict Plaintiff’s other arguments.

       Plaintiffs have identified two available and readily implementable alternative methods of

execution that would significantly reduce the risk of serious pain: a pre-dose of opioid pain or

anti-anxiety medication, or execution by firing squad. Thus, they have established a likelihood

of success on the merits of their claims that the 2019 Protocol’s method of execution constitutes

cruel and unusual punishment in violation of the Eighth Amendment.

B. Irreparable Harm

       In order to prevail on a request for preliminary injunction, irreparable harm “must be

certain and great, actual and not theoretical, and so imminent that there is a clear and present

need for equitable relief to prevent irreparable harm,” and it “must be beyond remediation.”

League of Women Voters of U.S. v. Newby, 838 F.3d 1, 7–8 (D.C. Cir. 2016) (citing Chaplaincy

of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)) (internal quotation

marks and brackets omitted). Here, without injunctive relief, Plaintiffs would be subjected to an



                                                 27
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 28 of 31




excruciating death in a manner that is likely unconstitutional. This harm is manifestly

irreparable. See Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (explaining that

“prospective violation[s] of . . . constitutional right[s] constitute[] irreparable injury for

[equitable-relief] purposes” (internal quotation marks omitted)).

        Other courts in this Circuit have found irreparable harm in similar, but less dire

circumstances. See, e.g., Damus v. Nielsen, 313 F. Supp. 3d 317, 342 (D.D.C. 2018) (finding

irreparable injury where plaintiffs faced detention under challenged regulations); Stellar IT Sols.,

Inc. v. USCIS, No. 18-2015, 2018553 U.S. at 49 WL 6047413, at *11 (D.D.C. Nov. 19, 2018)

(finding irreparable injury where plaintiff would be forced to leave the country under challenged

regulations); FBME Bank Ltd. v. Lew, 125 F. Supp. 3d 109, 126–27 (D.D.C. 2015) (finding

irreparable injury where challenged regulations would threaten company’s existence); N.

Mariana Islands v. United States, 686 F. Supp. 2d 7, 19 (D.D.C. 2009) (finding irreparable

injury where challenged regulations would limit guest workers).

        Defendants argue that Plaintiffs have failed to demonstrate irreparable harm given “the

absence of any evidence that [Plaintiffs], as a result of contracting COVID-19, will experience

pulmonary edema prior to falling insensate.” (Defs. Opp’n at 36.) But, for the reasons discussed

above, the court has found otherwise. Furthermore, Defendants appear to imply that if Plaintiffs

experience flash pulmonary edema for thirty seconds, at most, that would not constitute

irreparable harm. (See id. at 35–36.) The court has already addressed this argument. See supra

n.1. The Eighth Amendment does not permit “substantial” and “needless” suffering so long as it

will only be experienced for a short time. See Baze, 553 U.S. at 49–50. Here, the risk of

substantial suffering can be avoided by using one of Plaintiffs’ proffered alternatives or by

waiting several weeks to allow Plaintiffs to recover from a novel disease before executing them.



                                                   28
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 29 of 31




Thus, Plaintiffs have sufficiently shown they will suffer irreparable harm if their executions

proceed as planned.

C. Balance of Equities

       The need for closure in this case—particularly for the victims’ families—is significant.

See Calderon v. Thompson, 523 U.S. 538, 556 (1998) (“Only with an assurance of real finality

can the [government] execute its moral judgment in a case . . . [and] the victims of crime move

forward knowing the moral judgment will be carried out.”). And this court is mindful of the

Supreme Court’s caution against last minute stays of execution. See Bucklew, 139 S. Ct. at 1134.

But the government’s ability to enact moral judgment is a great responsibility and, in the case of

a death sentence, cannot be reversed. After suspending federal executions for over seventeen

years, the government announced a new Execution Protocol and a resumption of executions in

July 2019, and since July of this year has executed eleven inmates. Any potential harm to the

government caused by a brief stay is not substantial. Indeed, the government has not shown that

it would be significantly burdened by staying these two executions for several more weeks until

Plaintiffs have recovered from COVID-19. Accordingly, the court sees no reason why this

execution must proceed this week. Thus, the balance of the equities favors a stay.

D. Public Interest

       The court is deeply concerned that the government intends to execute two prisoners who

are suffering from COVID-19 infection, particularly given that the disease impacts individuals in

drastically different ways and can have particularly devastating long-term effects, even for those

with mild symptoms. This is to say nothing of the fact that executing inmates who are positive

for COVID-19 in a facility with an active COVID-19 outbreak will endanger the lives of those

performing the executions and those witnessing it. This is irresponsible at best, particularly



                                                29
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 30 of 31




when a temporary injunction will reduce these risks. The public interest is not served by

executing individuals in this manner. See Harris v. Johnson, 323 F. Supp. 2d 797, 810 (S.D.

Tex. 2004) (“Confidence in the humane application of the governing laws . . . must be in the

public’s interest.”).

        Thus, the court finds that all four factors weigh in favor of injunctive relief, and once

again finds itself in the unenviable position of having to issue yet another last-minute stay of

execution. Nonetheless, this is the nature of death penalty litigation, and this court has had a

disproportionate number of such claims given the nature of the case. Moreover, this result could

not have been avoided given that Plaintiffs were diagnosed with COVID-19 in late December, at

which point Plaintiffs filed amended complaints. The court held an evidentiary hearing to assess

the likelihood of success on the merits of these claims and scheduled that hearing at the earliest

possible date.

                                     III.    CONCLUSION

        The court finds that Plaintiffs have demonstrated a likelihood of success on the merits

and that absent a preliminary injunction, Plaintiffs will suffer irreparable harm. It further finds

that the likely harm that Plaintiffs would suffer if the court does not grant injunctive relief far

outweighs any potential harm to Defendants. Finally, because the public is greatly served by

attempting to ensure that the most serious punishment is imposed in a manner consistent with our

Constitution, the court finds that it is in the public interest to issue a preliminary injunction.




                                                  30
       Case 1:19-mc-00145-TSC Document 394 Filed 01/12/21 Page 31 of 31




       Accordingly, for the reasons set forth above, the court will GRANT Plaintiffs’ motions

for a preliminary injunction. The injunction will remain in effect until March 16, 2021. 13 A

corresponding order will be issued simultaneously.

Date: January 12, 2021


                                             Tanya S. Chutkan
                                             TANYA S. CHUTKAN
                                             United States District Judge




13
  The court calculated this date based on Dr. Van Norman’s assessment that COVID-19-related
lung damage can persist for as long as ninety days after infection. (See Van Norman Decl. at 6.)
Both Plaintiffs tested positive for COVID-19 on December 16, 2020. The court will not enjoin
these executions indefinitely, however. Accordingly, it will consider extending the injunction
only if Plaintiffs can provide demonstrated evidence of continued lung damage from COVID-19.
And the court expects that Defendants will, in good faith, comply with reasonable requests for
follow-up medical assessment which, at the bare minimum, should include an x-ray for each
Plaintiff in several weeks.
                                               31
